


  PER CURIAM.
 

  Upon review of Appellants’ response to this Court’s show cause order entered December 17, 2009, the Court hereby DISMISSES this appeal for lack of jurisdiction.
  
   See
  
  Fla. R.App. P. 9.180(b)(1)(C).
  
   See also, e.g., Landry v. AMS Staff Leasing,
  
  993 So.2d 1071 (Fla. 1st DCA 2008);
  
   Sun Sentinel &amp; Tribune Co. v. Petrovich,
  
  744 So.2d 1056 (Fla. 1st DCA 1999);
  
   Cadco Builders, Inc. v. Roberts,
  
  712 So.2d 457 (Fla. 1st DCA 1998).
 

  KAHN, BENTON, and ROBERTS, JJ., concur.
 
